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 DNJ-Cr-021 (09/2017)




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



   UNITED STATES OF AMERICA
                                              Case No. 21-173 (RBK)
                            v.

                                              SENTENCING SUBMISSION NOTICE
                                              OF THE UNITED STATES
    RICHARD TOBIN
                        Defendant.




         Please be advised that, on October 13, 2021, the United States submitted

sentencing materials to the Court in this case concerning the defendant.            .




                                                RACHAEL A. HONIG
                                                Acting United States Attorney




                                        By:
                                                Assistant U.S. Attorney
Dated: October 14, 2021
